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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES            *        CIVIL ACTION 05-4182
CONSOLIDATED LITIGATION                 *
                                        *
PERTAINS TO:                            *        SECTION “K” (2)
                                        *
Allen et al v. State Farm Fire and      *        Judge Stanwood R. Duval, Jr.
Casualty Company, Case Number 07-5111 *
Annie Rovaris                           *
*************************************
                              MEMORANDUM IN SUPPORT OF
                           MOTION TO ENFORCE SETTLEMENT

MAY IT PLEASE THE COURT:

       On August 25, 2008, Annie Rovaris entered into a Confidential Receipt and Release

Agreement (hereinafter “Agreement”) with State Farm Fire and Casualty Company (hereinafter

“State Farm”) to settle her claim for damages related to Hurricane Katrina for the following

settlement amounts: $15,000.00 for “Building” Coverage; $5,000.00 for “Personal Property”

Coverage; and $5,000.00 for “Additional Living Expense” Coverage. Bruno & Bruno, LLP

(hereinafter “Bruno”) disbursed the uncontested $10,000.00 to Annie Rovaris less attorneys’

fees. Bruno was unable to disburse the proceeds of the $15,000.00 check to Annie Rovaris as the

Office of Community Development, Division of Administration for the State of LA (“Road

Home”) was named as an additional payee. In order for the Road Home to make a determination

regarding any interest it may have in the settlement proceeds, Bruno submitted a “Request for

Approval.” During the pendency of the Road Home review process, the $15,000.00 check

expired. After the Road Home concluded that it did have an interest in a portion of the proceeds,

Bruno requested reissue of Annie Rovaris’ settlement payment through State Farm. Despite

repeated requests, State Farm refused to reissue the check. To date, State Farm has not provided

affiant with the agreed upon proceeds from the August 25, 2008 settlement agreement.
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       Annie Rovaris learned via letter from the State of Texas that State Farm deposited the

applicable settlement proceeds in the State of Texas’s Unclaimed Property Fund. As such, State

Farm has failed to honor the August 25, 2008 Settlement Agreement and its obligations therein.

       Furthermore, State Farm has failed to honor Bruno’s lien – an interest in the claim

statutorily granted by LSA–R.S. 37:218 which gives Bruno a special privilege to attorneys for

the amount of their professional fees on any recovery obtained by settlement. State Farm had

notice of Bruno’s lien, but failed to protect Bruno’s interest in the settlement proceeds.

       Bruno moves for leave to file its proposed Motion to Enforce Settlement in hopes that

this Court will have Defendant, State Farm, honor the terms, conditions, and obligations set forth

by their own counsel in the “Release,” executed by Annie Rovaris on August 25, 2008.

Furthermore, Bruno moves for leave to file its proposed Motion to Enforce Settlement in hopes

that Bruno can satisfy its contractual obligation to tender the amount(s) due pursuant to the

settlement agreement executed in conjunction with the underlying litigation and agreed upon by

both Client and Bruno on December 5, 2006, which is evidenced by the contract attached as

Exhibit “A.”

       State Farm and Annie Rovaris are hereby notified of Bruno’s intent to seek this

Honorable Court’s leave to file its’ Motion to Enforce Settlement.

                                              Respectfully submitted:

                                              /s/ Melissa DeBarbieris
                                              JOSEPH M. BRUNO (NO.3604)
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                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the above and foregoing upon all counsel of

record by placing same in the United States mail, properly addressed and with first-class postage,

or by facsimile or other electronic transmission this 28th day of September, 2015.


                                                     /s/ Melissa DeBarbieris
                                                     Melissa DeBarbieris




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